                                 Case 1:21-cv-00892-RP Document 29 Filed 04/19/23 Page 1 of 3

                                                                                                              FILED
                                                                                                          April 19, 2023
                                                                                                     CLERK, U.S. DISTRICT COURT

                                          United States Court of Appeals                             WESTERN DISTRICT OF TEXAS

                                                                                                                       klw
                                                                                                 BY: ________________________________

                                               for the Fifth Circuit                                                     DEPUTY

                                                                                               United States Court of Appeals
                                                                                                        Fifth Circuit
Certified as a true copy and issued
as the mandate on Apr 19, 2023                                                                        FILED
Attest:                                                      No. 23-50090                       March 28, 2023
Clerk, U.S. Court of Appeals, Fifth Circuit
                                                                                                 Lyle W. Cayce
                                                                                                      Clerk
                            Kimberly D. Hogan,

                                                                                    Plaintiff—Appellant,

                                                                 versus

                            Aspire Financial, Incorporated, doing business as Aspire
                            Lending; Donald E. Uloth; Felicia Pitre, Clerk of the Court;
                            Dallas County 162nd District Court; Melinda Thomas,
                            Court Coordinator; Dallas 162nd District Court; Lisa Matz,
                            Appellate Court Clerk; Dallas 5th Court of Appeals; Kristen
                            Golby, Deputy Clerk of the Court; Supreme Court of Texas;
                            Blake A. Hawthorne, Clerk of the Court; Supreme Court of
                            Texas; John and Jane Does 1-100; Tyler Technologies,

                                                                       Defendants—Appellees.
                                              ______________________________

                                              Appeal from the United States District Court
                                                   for the Western District of Texas
                                                      USDC No. 1:21-CV-892 RP
                                              ______________________________

                                                      UNPUBLISHED ORDER

                            Before Elrod, Graves, and Ho, Circuit Judges.
                            Per Curiam:
                                       This court must examine the basis of its jurisdiction, on its own
                            motion if necessary. Hill v. City of Seven Points, 230 F.3d 167, 169 (5th Cir.
  Case 1:21-cv-00892-RP Document 29 Filed 04/19/23 Page 2 of 3



                                  No. 23-50090


2000). Pursuant to 28 U.S.C. § 2107(a) and Federal Rule of Appellate
Procedure 4(a)(1)(A), the notice of appeal in a civil case must be filed within
thirty days of entry of judgment.
         In this breach of contract action, the district court entered final
judgment dismissing the complaint on July 18, 2022. Therefore, the final day
for filing a timely notice of appeal was August 17, 2022. Plaintiff’s pro se
notice of appeal was filed on January 31, 2023. When set by statute, the time
limitation for filing a notice of appeal in a civil case is jurisdictional. Hamer
v. Neighborhood Hous. Servs. of Chi., 138 S. Ct. 13, 17 (2017); Bowles v. Russell,
551 U.S. 205, 214 (2007). The lack of a timely notice mandates dismissal of
the appeal. United States v. Garcia-Machado, 845 F.2d 492, 493 (5th Cir.
1988).
         Accordingly, the appeal is DISMISSED for want of jurisdiction




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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                             April 19, 2023


Mr. Philip Devlin
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 23-50090     Hogan v. Aspire Financial
                       USDC No. 1:21-CV-892


Dear Mr. Devlin,
Enclosed is a copy of the judgment issued as the mandate.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Renee S. McDonough, Deputy Clerk
                                  504-310-7673
cc:
      Ms. Kimberly D. Hogan
